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   UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

   WEST VIRGINIA NORTHERN BANKRUPTCY
   PDF FILE WITH AUDIO FILE ATTACHMENT

         2:23-BK-00427

         Alderson Broaddus University Inc. and Alderson-Broaddus Endowment
         Corporation




         Case Type :                       bk
         Case Number :                     2:23-bk-00427
         Case Title :                      Alderson Broaddus University Inc. and Alderson-Broaddus Endowment
                                           Corporation
         Judge :                           David L. Bissett
         Courtroom :                       Bankruptcy Courtroom - Clarksburg, Clarksburg, WV
         Audio Date\Time :                 1/31/2024 11:00:00 AM
         Audio File Name :                 2:23-bk-00427.mp3
         Audio File Size :                 23955 KB
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